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mail receptacle or other secure location without attempting to obtain the addressee’s signature on delivery.

Sunday/Holiday Delivery Required (additional fee, where available")

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Return Receipt Fee | Live Animal
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